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                            UKIXTED STATICS DTSDZ-ZCT COJ^Lj
          ^OStTLI^I^        DT=-STfZ.TcT OP                               \/Xt2i3rXWX/9-
       ViTLLzm LTZJLGimfrr IL
                          P/J?xnJT7:ff


   V
                                                              FEDEIZ/?^ SUIiSTjiofvJ-
       JCEUTKm. EMrEfix<5.Ewc£                                    05c 2.33X

                                      SEtUIC^ ^'             WW^         TVe,frnnXT^om^
                                                                r]j      K-UKPOJCr rntb OMJItSJ
                                   ,'DirF£.K)D^A/T^                        yWD^WI/.Z7>W.)-




                                 ^ 3CPXSDICTXOM            7-^.
                                    239iCeXx)0?);i^vsc-Lo^Cr-z'
          g5(3); /9WD          use                           ;4;? i;5C

       !a^'                ^ cij^Try> uhi^BL us faw5X
       jSy (i}K)^NTXA/(^ ZCLXWOXS    lU/)y:\/ED eoVEH/Zz^ T-fr^muHTTY
                         TO 'i^~C0~3^4S        '27-C\/-3;1,J2^ BEZMGr
       RE/noUEO TO ^E FLLZn/OXS CEN/77cr?X DTSTtecT p/za/r?                     SE^/EMT//
       CXRjCUX/ of XXLxwopSj
       fUKsow^T too43 uscX19s; 4p,u5c/^S6(3);/!?a/o
       ONXTQ> XWfEs CU/S DfLFn-ILDvjijUT OP PXFXWSS) ^WD S^TP OP
       XLLZI^T^S 100 WOTl^aWP POSSES 50m^E.ze-lsJ %ynmuMZT%

^WL ZLLTNOTS trVotLNTzT (klLiUliJZM- pwD Oi S, DfLPmrmEhfT OP
(^ oosTxcH. vZEnoano f/vd p?z/:.eo to dewtwto                            (unmrrat^
        XN/ U-C^-3>245 fi-NT> 'l7~c^-39^1o
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